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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 NATIONAL INSTITUTE OF FAMILY
 AND LIFE ADVOCATES, et al.,

                 Plaintiffs,                             Case No. 16-50310

        v.                                               Hon. Rebecca R. Pallmeyer

 BRYAN A. SCHNEIDER,                                     Magistrate Judge Lisa A. Jensen

                 Defendant.

 RONALD L. SCHROEDER, et al.,

                 Plaintiffs,
                                                         Case No. 17-cv – 04663
        v.
                                                         Hon. Rebecca R. Pallmeyer
 BRYAN A. SCHNEIDER,
                                                         Magistrate Judge Lisa A. Jensen
                 Defendant.


                       AGREED SCHEDULE FOR SIX DEPOSITIONS


       Pursuant to the Court’s May 17, 2019 order, the parties submit the following agreed

schedule for the six depositions granted by the Court:


             1. Sarah VanDerLip on August 20, 2019

             2. Vivian Maly on August 22, 2019

             3. Susan Wilson on September 10, 2019

             4. Judy Cocks on September 12, 2019

             5. Kathy Lesnoff on September 18, 2019

             6. Dr. Ronald Schroeder on September 19, 2019



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                                    Respectfully submitted,

 For NIFLA Plaintiffs:                            For Defendant:

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                           CERTIFICATE OF SERVICE


    The undersigned attorney certifies that copies of this AGREED SCHEDULE FOR SIX
DEPOSITIONS was served upon all counsel of record via ECF on May 24, 2019.




                                            /s/Sarah J. Gallo
                                            Sarah J. Gallo
                                            Assistant Attorney General




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